929 F.2d 693Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Cecil W. MORRISON, Plaintiff-Appellant,andThomas Lee Dunlap, Horace Bass, Donald Clay Bryant, HeywoodHegler, Edward Hunt, James Cannon Johnson, RestoneyRobinson, Paul Fearnow, Reggie Brown, Duncan E. McCray,Elsie Gaines, Cecil Frank Goodyear, Frankie L. Bowden,Willie James Barber, Donald Gaston Pinnix, Jr., CharlesMelvin Spruill, Ronnie Neil Burnette, Archie Eugene Thomas, Plaintiffs,v.James G. MARTIN, Governor and Agencies, Boyd Bennett, AreaAdministrator, J.W. Iddings, Superintendent, Walter Edmond,Superintendent (Asst), Robert Thomas Davis, Unit ProgramDirector, Defendants-Appellees.Elsie GAINES, Plaintiff-Appellant,andThomas Lee Dunlap, Horace Bass, Donald Clay Bryant, HeywoodHegler, Edward Hunt, James Cannon Johnson, Paul Fearnow,Reggie Brown, Duncan E. McCray, Cecil Frank Goodyear,Frankie L. Bowden, Willie James Barber, Donald GastonPinnix, Jr., Charles Melvin Spruill, Ronnie Neil Burnette,Cecil W. Morrison, Archie Eugene Thomas, Plaintiffs,v.James G. MARTIN, Governor and Agencies, Boyd Bennett, AreaAdministrator, J.W. Iddings, Superintendent, Walter Edmond,Superintendent (Asst), Robert Thomas Davis, Unit ProgramDirector, Defendants-Appellees.Thomas Lee DUNLAP, Plaintiff-Appellant,andHorace Bass, Donald Clay Bryant, Heywood Hegler, EdwardHunt, James Cannon Johnson, Restoney Robinson, Paul Fearnow,Reggie Brown, Duncan E. McCray, Elsie Gaines, Cecil FrankGoodyear, Frankie L. Bowden, Willie James Barber, DonaldGaston Pinnix, Jr., Charles Melvin Spruill, Ronnie NeilBurnette, Cecil W. Morrison, Archie Eugene Thomas, Plaintiffs,v.James G. MARTIN, Governor and Agencies, Boyd Bennett, AreaAdministrator, J.W. Iddings, Superintendent, Walter Edmond,Superintendent (Asst), Robert Thomas Davis, Unit ProgramDirector, Defendants-Appellees.
    Nos. 90-6654, 90-6658 and 90-6659.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 4, 1991.Decided March 22, 1991.
    
      Appeals from the United States District Court for the Middle District of North Carolina, at Greensboro.  Richard C. Erwin, Chief District Judge.  (CA-89-554-C-G)
      Cecil W. Morrison, Elsie Gaines, Thomas Lee Dunlap, appellants pro se.
      Ronna Dawn Gibbs, North Carolina Department of Justice, Raleigh, N.C., for appellees.
      M.D.N.C.
      DISMISSED.
      Before WIDENER and K.K. HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Cecil W. Morrison, Elsie Gaines, and Thomas Lee Dunlap appeal the district court's denial of class certification.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."    Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we deny leave to proceed in forma pauperis and dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      DISMISSED.
    
    